Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 1 of 55




                           UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF
                             FLORIDA BROWARD DIVISION
                           Case No.:

   PANGEA MERX, LLC, a Florida Limited
   Liability Company,

                        Plaintiff,

   v.

   C.B.I.SPA,     an   Italian    corporation;
   ONLYMOSO HARVEST, LLC, a Florida                       JURY TRIAL DEMANDED
   Limited Liability Company; ONLYMOSO
   U.S.A. CORP, a Florida corporation;
   ONLYMOSO U.S.A. MARKETING, LLC, a
   Florida   Limited    Liability   Company;
   FABRIZIO     PECCI;      and    ROBERTO
   SEMINARA,

                     Defendants.
   _____________________________________/

                                       COMPLAINT

        COMES NOW Plaintiff, PANGEA MERX, LLC (“Plaintiff” or “PANGEA”), by and

   through its undersigned counsel, complains of Defendants C.B.I.SPA; ONLYMOSO

   HARVEST, LLC; ONLYMOSO U.S.A. CORP; ONLYMOSO U.S.A. MARKETING, LLC;

   FABRIZIO PECCI; and ROBERTO SEMINARA (“Defendants”) conduct, and alleges

   upon information and belief as follows:

                                 NATURE OF THIS ACTION

         1.     PANGEA seeks monetary damages under federal and state law claims

   arising from Defendants’ breach of contract, fraud, civil conspiracy to commit fraud,

   unjust enrichment, and violation of privacy.
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 2 of 55




         2.      As described in more detail below, the parties entered into an

   International Sales and Distribution Agreement (referred herein as the “Agreement”

   and incorporated to this Complaint as Exhibit “A”), through which PANGEA would be

   the exclusive distributor of Defendants’ bamboo-based food products in the United

   States (U.S.A.).

         3.       Defendants breached the Agreement by providing false information,

   including the fact that Defendants’ products where not compliant with the applicable

   U.S. administrative agencies’ requirements for imported food products; failing to

   disclose material facts such as technical specifications; and failing to provide PANGEA

   with marketable products as per the terms of the Agreement.

         4.      As of the date of this Complaint, Defendants have failed to act according

   to their duties.

         5.      As of the date of this Complaint, and after having attended a mediation

   pursuant to the terms and conditions of the Agreement, Defendants have failed to

   reimburse Pangea for the amounts invested in furtherance of said Agreement.

         6.      Moreover, Defendants continue to work in the relevant field (bamboo

   products’ commercialization) and keep using PANGEA’S property, including marketing

   material and copyrighted images, which were produced at PANGEA’S expense in

   furtherance of the Agreement.

         7.      Further, this case concerns Defendants’ continued wrongful and

   unauthorized use of PANGEA’S promotional material, as well as the personal image

   and personal name of PANGEA’S officers.




                                         Page 2 of 16
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 3 of 55




         8.     As of the date of this Complaint, Defendants continue to use the images

   and names of PANGEA'S officers on the Internet and through online commerce with

   the manifest intent of soliciting investors for projects related to Defendants’ products

   and services.

         9.     As a result of Defendants’ actions, PANGEA has sustained a loss in

   excess of $480,070.00, which represents money invested due to Pangea’s reliance on

   Defendants’ assurances, liquidated damages pursuant to the Agreement between the

   parties, in addition to royalties for the unauthorized use of the images of PANGEA’S

   officials, as well as punitive and exemplary statutory damages in an amount to be

   determined at trial.

                               JURISDICTION AND VENUE

         10.   This Court has jurisdiction over the subject matter of this Complaint

   pursuant to 28 U.S.C. §§ 1332 (a) as these claims arise under diversity Jurisdiction and

   Plaintiff seeks damages that exceed $75,000.00.

         11.    This Court has supplemental jurisdiction over the pendant state law

   claims pursuant to 28 U.S.C. § 1367(a).

         12.    Defendants are subject to personal jurisdiction in the State of Florida and

   this District because they reside in the State of Florida. Additionally, Defendants are

   subject to personal jurisdiction in the State of Florida and this District because: (a)

   Defendants entered into a forum selection clause that identifies this District as the

   exclusive district for resolution of the disputes between the parties; (b) Defendants

   have sold products into the State and this District; (c) Defendants have caused tortious

   injury to PANGEA within the State and this District; (d) Defendants practice the



                                         Page 3 of 16
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 4 of 55




   unlawful conduct complained of herein, in part, within the State and this District; (e)

   Defendants regularly conduct or solicits business within the State and this District; (f)

   Defendants regularly and systematically direct electronic activity into the State and this

   District with the manifest intent of engaging in business within the State and this

   District, including the sale and/or offer for sale to Internet users within the State and

   this District; and (g) Defendants enter into sales contracts with residents of the State

   and this District.

         13.      Venue is proper in the United States District Court for the Southern

   District of Florida pursuant to 28 U.S.C. § 1391 because a substantial part of the events

   or omissions giving rise to this claim occurred in this District.

                                           PARTIES

         14.      Plaintiff PANGEA MERX, LLC is a duly organized Florida Limited Liability

   Company.

         15.      Defendant C.B.I.SPA. is an Italian corporation dedicated to the

   commercialization of bamboo, it operates in Europe under the trade names OnlyMoso

   Italy, OnlyMoso Spain, OnlyMoso France, OnlyMoso China, OnlyMoso Portugal and

   Consorzio Bambu Italia. (See Exhibit “B”).

         16.      Defendant ONLYMOSO HARVEST, LLC is a duly organized Florida

   Limited Liability Company. It commercializes bamboo products in the United States of

   America under the trade name OnlyMoso and advertises investment opportunities as

   a subsidiary of OnlyMoso and its family of international subsidiaries.

         17.      Defendant ONLYMOSO U.S.A. CORP is a duly incorporated Florida

   corporation.



                                           Page 4 of 16
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 5 of 55




         18.    Defendant ONLYMOSO U.S.A. MARKETING, LLC is a duly registered

   Florida Limited Company whose manager and authorized member is ROBERTO

   SEMINARA.

         19.    Defendant FABRIZIO PECCI, (“PECCI”) is an Italian citizen residing in

   Italy, who commercializes bamboo products through his company C.B.I.SPA. and its

   international subsidiaries OnlyMoso Italy, OnlyMoso Spain, OnlyMoso France,

   OnlyMoso China, and OnlyMoso Portugal. PECCI, was introduced to PANGEA as the

   responsible party and owner of the OnlyMoso subsidiaries and their projects.

         20.    Defendant ROBERTO SEMINARA (“SEMINARA”) is a resident of

   Broward County, Florida and the manager and authorized member of ONLYMOSO

   U.S.A. MARKETING, LLC.

                                   THE NEGOTIATION

         21.   In 2017, PANGEA, through its principals, the Sosas, met Defendant,

   SEMINARA, when he rented one of the Sosas’ commercial properties.

         22.   On several occasions during the last months of 2017, SEMINARA offered

   PANGEA an investment opportunity to commercialize “Bambita” products, which are

   Italian bamboo-based food products, in Latin America.

         23.   On or around January 10, 2018, PANGEA decided to entertain the idea of

   entering into a distribution agreement of said products in Latin America and started

   working on establishing connections for potential channels of distribution with its

   business partners in Latin America.

         24.   On or about January 10, 2018, PANGEA and Defendant ONLYMOSO

   HARVEST LLC executed an Non Disclosure Agreement (“NDA”) to further formalize the



                                         Page 5 of 16
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 6 of 55




   negotiations.

         25.   On or about May 3, 2018, PANGEA started receiving detailed information

   about the investment opportunity from the Defendants.


         26.   On or about September 25, 2018, PANGEA received a presentation with

   pricing information from Defendant, SEMINARA.

         27.   On or about January 30, 2019, and pursuant to the negotiations with the

   Defendants, PANGEA purchased the URL: Bambita.com.

         28.   On February 5, 2019, PANGEA, through its principals, the Sosas, attended

   a meeting with SERMINARA and FABRIZIO PECCI wherein PECCI was introduced to

   PANGEA as the owner and representative of the Consorzio Bambu Italia

   (“C.B.I.S.PA.”).

         29.   PECCI showed PANGEA his project “Onlymoso”, its website, data, photos

   and videos of his facilities and plantations in Italy. During the February 5th meeting,

   PECCI indicated that it was more suitable to market the products in the U.S.A., as

   opposed to Latin America, because Onlymoso was approved to enter and

   commercialize products in the U.S.A..

         30.   During said February 5, 2019 meeting, PANGEA agreed to abandon all the

   preliminary work they had done in Latin America to focus exclusively on the U.S.A.

   market.

             THE INTERNATIONAL SALES AND DISTRIBUTION AGREEMENT

         31.   On March 16, 2019, the Parties finalized and executed a contract of

   exclusivity titled International Sales and Distribution Agreement (the “Agreement”). In

   Section 5.10(g) of the Agreement, the Manufacturer (i.e. Defendants) confirmed it had


                                        Page 6 of 16
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 7 of 55




   obtained and maintained FDA approval for the facilities.

         32.     Section 3.4 of the Agreement also set forth a probationary period to last until

   December 31, 2019, during which the Defendants would assess PANGEA’S capability

   to distribute the products and satisfactory serve Defendants’ existing clients in the

   Territory.

         33.     Furthermore, Section 3.4.1 of the Agreement included a clause granting

   Restitution Damages for cancellation during the Probation Period, which stated as

   follows:

              If Manufacturer decides to cancel the Probation Period without cause
              while Distributor has duly performed, Manufacturer shall restore
              Distributor’s position with due compensation in an amount equal to the
              out of pocket investment incurred by Distributor to advance this
              business opportunity, plus the cost of the existing inventory at the value
              p[aid by Distributor (including, but not limited to, product value, logistic
              cost, import duties and additional fees incurred by handling the product)
              plus an additional fifteen percent (15%) of the total cost as restitution
              for intangible cost.”

         34.     Defendants breached the Agreement during the Probation Period as they

   did not provide marketable products for PANGEA to distribute.

         35.     The Defendants delivered certain products that did not meet U.S.A. food

   regulations and presented the following issues:

              1. Poor Storage: Before PANGEA obtained possession of the products, they

                 were stored in a nursery, exposed to the sun and possible contaminants

                 (some of the jars, in fact, contained insects).

              2. Failure to meet Foreign Supplier Verification Program “FSVP”: The

                 FSVP requirement was never completed by Onlymoso, even though

                 compliance with this program was one of the reasons why PECCI pushed



                                            Page 7 of 16
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 8 of 55




               to re-route the project to the U.S.A. as opposed to Latin America.

           3. Labels with errors: The labels have incorrect nutritional information; for

               instance, the list of ingredients is incorrect.

         36.   PANGEA made additional orders, however, it did not receive any products

   and was not able to make any sales during the Probation Period.

         37.   In order to the mitigate its damages and in an attempt to make the delivered

   products marketable in the U.S.A., PANGEA retained the following professionals:

           1. Kinetic 12: Consulting Agency hired to organize, perform and analyze

               marketing focus groups.

           2. US Import agent: Company hired to create new label reviews, label claims,

               FSVP and the nutritional fact panels.

           3. MDO Partners (Richard Montes and Lisa Capote) Compliance

               Lawyers: Lisa focuses her practice on regulatory compliance for the life

               sciences and food industries. They were retained to review compliance of

               the products imported by Onlymoso from Italy.

         38.   In a last desperate effort to save the project, Alberto Sosa, the managing

   shareholder of PANGEA, traveled to Italy from July 20 to July 30, 2019. The Defendants

   made promises and assurances that they would correct the problems and cooperate.

   At this point, PANGEA had invested a substantial amount of money, so it gave the

   Defendants an opportunity for the remaining months of the Probation Period.

         39.   The total amount invested by PANGEA during the Probation Period was

   approximately $418,000.00. Pursuant to section 3.4.1, Plaintiff is entitled to receive the

   amount invested plus the additional 15% as restitution for intangible cost, in addition to



                                          Page 8 of 16
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 9 of 55




   other damages awarded by this Court.

                                POST BREACH CONDUCT

         40.   The Defendants obtained the FSVP approval on November 27, 2019.

   However, the relationship between the Parties had deteriorated and work under the

   Agreement was deemed not feasible.

         41.   Plaintiff also discovered that the Defendants had engaged in activities that

   indicated their intent to continue commercializing the products in the U.S.A., benefiting

   from PANGEA’S investment. PANGEA was defrauded by Defendants, as the

   Defendants utilized PANGEA’S efforts to get the Bambita products approved in the

   U.S.A. and get their products compliant in the U.S.A. market, with the intention to utilize

   PANGEA’S efforts and then distributing the contracted product without PANGEA.

         42.   By December 2019, when the Defendants had received notice of this

   dispute, C.B.I.S.P.A filed for trademark registration of the mark “Bambita” with the

   USPTO under serial Nos. 88716013; and 88400620, which developed into registrations

   Nos.: 6094995; and 6005561. C.B.I.S.P.A used PANGEA’S photos, label and design

   as specimen for trademark application serial No.: 88716013.

         43.   As recently as March 25, 2021, ROBERTO SERMINARA, filed for

   trademark registration of the mark “Bamboopreneurs” with the United States Patent and

   Trademark Office under statutory basis 1(b), or intent to use.

         44.   On or around March 25, 2021, SERMINARA purchased a domain under

   that “Bamboopreneurs” mark, which is connected to a website page that includes a

   photo and a “story” of the Sosa family, the principals of PANGEA, to solicit investors.




                                          Page 9 of 16
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 10 of 55




                            COUNT I - BREACH OF CONTRACT

          45.     Pangea hereby realleges each and every allegation contained in

    Paragraphs 1 through 44 as if fully set forth herein.

          46.    The Agreement was a valid and binding contract between PANGEA and

    Defendants.

          47.     PANGEA fully performed its material obligations under the Agreement at

    all relevant times herein.

          48.     Defendants materially breached the Agreement by failing to provide

    PANGEA with a marketable product to distribute within the Probation Period and by

    misrepresenting Defendants’ compliance with the applicable federal regulations on

    imported food products, as per the terms of the Agreement.

          49.     Furthermore, Defendants materially breached the Agreement by failing

    to cure their breach and misrepresentations once Plaintiff put them on notice of the

    defects. Specifically, Defendants failed to cooperate with Plaintiff’s efforts to obtain

    federal compliance in order to perform under the Agreement.

          50.     Pursuant to the terms of the Agreement, Pangea is entitled to receive

    from Defendants the total amount invested, plus 15% for intangible losses.

          51.     Pangea seeks recovery of the restitution it is entitled pursuant to the

    Agreement.

          52.     As a direct and proximate result of Defendants’ actions, Pangea has been

    and continues to be irreparably injured and has sustained significant damages in an

    amount to be determined by the evidence at trial.




                                          Page 10 of 16
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 11 of 55




          53.    Such conduct on the part of Defendants has caused and will continue to

    cause irreparable injury to Pangea unless it is enjoined.

                         COUNT II – FRAUDULENT INDUCEMENT

          54.    Pangea hereby realleges each and every allegation contained in

    Paragraphs 1 through 44 as if fully set forth herein.

          55.    This is a claim for fraudulent inducement.

          56.    Defendants made false statements regarding material facts, including the

    Defendants products’ compliance with the applicable U.S. federal regulations,

    including the data contained in the labels, and the quality of Defendants’ products.

    Specifically, Defendants stated in Section 5.11(b) of the Agreement that they had

    obtained approvals from the Food and Drug Administration (FDA), which controls the

    importation of food products into the U.S. Furthermore, Defendants confirmed that they

    had maintained those registrations in good standing and were currently active at the

    time of entering into the Agreement.

          57.    In addition, Defendants falsely represented to Plaintiff that the labels and

    technical information placed on the products were compliant with U.S. regulations and

    that the products were ready to be marketed in the U.S. market.

          58.    Defendants knew that the products were not compliant with U.S.

    applicable regulations as Defendants had not contacted the agencies for approval, nor

    had their data sheets or labels evaluated by accredited professionals in the U.S.

          59.    Defendants intended that these representations induce Plaintiff to invest

   and work on Defendants’ project.




                                           Page 11 of 16
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 12 of 55




          60.    Relying on Defendants’ representations, Plaintiff entered into the

   Agreement with Defendants and justifiably invested a large amount of money and

   resources in furtherance of the terms of the Agreement.

          61.    As a direct and proximate result of Defendants actions, Pangea has been,

   and continues to be, damaged by Defendants’ activities and conduct.

        COUNT III – CIVIL CONSPIRACY TO COMMIT FRAUD AS TO ROBERTO
                          SEMINARA AND FABRIZZIO PECCI

          62.    Pangea hereby realleges each and every allegation contained in

    Paragraphs 1 through 44 as if fully set forth herein.

          63.    Defendants ROBERTO SEMINARA and FABRIZZIO PECCI conspired

   to defraud PANGEA.

          64.    At all times material hereto, Defendant, SEMINARA, and Defendant,

    PECCI, had full knowledge of the falsehood of their statements in connection with the

    defects of the products and knew that Plaintiff, through its owners and representatives,

    would act in reliance of the information presented as part of a formal offer of an

    investment opportunity.

          65.    Defendant, SEMINARA, contacted and pursued Plaintiff’s officers to

   solicit their investment.

          66.    Defendant, PECCI, joined Defendant, SEMINARA, on his attempts to

   defraud Plaintiff, and both SEMINARA and PECCI knowingly, wrongfully, maliciously,

   intentionally, and tortiously lied about the quality, technical specifications, marketing

   information and regulatory compliance of the Defendants’ products. Specifically,

   Defendants SEMINARA and PECCI knew that Defendants had not sought FDA

   approval nor compliance with the applicable federal regulations at the time the


                                          Page 12 of 16
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 13 of 55




   investment opportunity was presented to the Plaintiff.

          67.   Defendants have no privilege or justification for their actions and their

    conduct.

          68.    Defendants’ actions have proximately caused Plaintiff’s damages.

          69.    Defendants’ actions have irreparably harmed PANGEA.

                             COUNT IV – UNJUST ENRICHMENT

          70.    Pangea hereby realleges each and every allegation contained in

    Paragraphs 1 through 44 as if fully set forth herein.

          71.    Plaintiff has conferred Defendants the benefit of an investment of

    $418,000.00, which provided the benefit of obtaining compliance with the applicable

    U.S federal agencies for Defendants’ products, among other advantages.

          72.    Defendants voluntarily pursued Plaintiff to invest and confer the

    aforementioned benefits, and voluntarily accepted and retained said benefits.

          73.    As explained before, the circumstances render Defendants’ retention of

    the benefits conferred by Plaintiff’s investment inequitable.

          74.    Plaintiff is entitled to be paid the total amount of the investment plus the

    cost of intangible efforts as per the terms of their negotiations.

                                  COUNT V INVASION OF PRIVACY

          75.    Pangea hereby realleges each and every allegation contained in

    Paragraphs 1 through 44 as if fully set forth herein.

          76.    This is a claim for invasion of privacy under Section 540.08, Florida

    Statutes.




                                           Page 13 of 16
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 14 of 55




         77.    As of the date of this Complaint, Defendants have utilized the name and

   likeness of PANGEAS principals and owners, Alberto Sosa, Sr., Alberto Sosa, Jr., and

   the Sosa Family for trade, commercial, and advertisement purposes of their

   businesses. (See Exhibit C)

         78.    Defendants’ use of Plaintiff’s officers name and likeness is unauthorized.

                                   RELIEF REQUESTED

         WHEREFORE, Plaintiff Pangea Merx, LLC prays for judgment in its favor and

   against Defendants C.B.I. SPA; ONLYMOSO HARVEST, LLC; ONLYMOSO U.S.A.

   CORP; ONLYMOSO U.S.A. MARKETING, LLC; FABRIZIO PECCI; and ROBERTO

   SEMINARA providing the following relief:

         1.     Temporary, preliminary, and permanent injunctive relief prohibiting

                Defendants,      its   distributors,     retailers,   agents,   employees,

                representatives, and all persons acting in concert with it, including, but

                not limited to, any online platform, such as Amazon.com or eBay.com, or

                any website, website host, website administrator, domain registrar, or

                internet service provider, from:

                a.     using, or attempting to use, any of Pangea Merx, LLC’s intellectual

                       property, including, but not limited to, Pangea Merx, LLC or its

                       copyrighted images;

                b.     engaging in any false or misleading advertising with respect to

                       Pangea Merx, LLC or its officers, and their relationship with

                       Defendants, which relief includes but is not limited to removal of

                       all of Defendants’ mention of Pangea Merx, LLC’s name, or any of



                                         Page 14 of 16
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 15 of 55




                      its officers’ names, from the Internet, including but not limited to:

                      www.onlymoso.com; www.onlymoso.com/about/team

               c.     advertising, selling, or taking any steps to sell Defendants’ products
                      or investment opportunities using Pangea Merx, LLC’s, or its
                      officers, likeness trademarks or names;

               d.     engaging in any activity constituting unfair competition with Pangea
                      Merx, LLC; and

               e.     inducing, assisting, or abetting any other person or entity in

                      engaging in or performing any of the business activities described

                      in the paragraphs above.

         2.   An order requiring Defendants to correct any erroneous impression

              consumers may have derived concerning the nature, characteristics, or

              qualities of the relationship between PANGEA MERX, LLC and its officers

              with the Defendants’, including without limitation, the placement of

              corrective advertisement and providing written notice to the public to cure

              any residual impacts from Defendants’ false advertising;

         3.   Adjudge Defendants to have materially breached the Agreement and

              award Pangea liquidated damages in the amount of $418,000.00, the total

              amount invested plus an additional 15% of the total cost as restitution for

              intangible cost for a total amount of $ 480,070.00 as permitted by the

              Agreement;

         4.   Adjudge Defendants to have violated Fla. Stats. §§ 540.08 by publishing

              Plaintiff’s officers’ name and likeness on the internet and award a

              reasonable royalty, as well as punitive or exemplary damages, and any

              other relief this Court deems just and proper;


                                       Page 15 of 16
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 16 of 55




        5.     Award Pangea the costs incurred in bringing this action;

        6.     Award Pangea Attorneys’ Fees pursuant to Fla. Stats. §§ 540.08 and

               Section 9.16 of the Agreement;

        7.     Grant PANGEA such other relief as this Court deems just and proper.



                                    JURY TRIAL CLAIM

   Pangea hereby requests trial by jury on all claims so triable.


                                                   COHEN LEGAL GROUP, P.A.
                                                   Attorney for Plaintiff
                                                   1398 SW 160 Ave. Suite 206
                                                   Ft. Lauderdale, Florida 33326
                                                   Telephone: (954) 617-6500
                                                   Primary Email Address:
                                                   pleadings@accidentinjurycounsel.com

                                                   BY:_ _/s/ Michael J. Cohen________
                                                         MICHAEL J. COHEN
                                                        Florida Bar No. 146358




                                         Page 16 of 16
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 17 of 55




                      Exhibit "A"
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 18 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 19 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 20 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 21 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 22 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 23 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 24 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 25 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 26 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 27 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 28 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 29 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 30 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 31 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 32 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 33 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 34 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 35 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 36 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 37 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 38 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 39 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 40 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 41 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 42 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 43 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 44 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 45 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 46 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 47 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 48 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 49 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 50 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 51 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 52 of 55




                   Exhibit "B"
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 53 of 55
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 54 of 55




                     Exhibit "C"
Case 0:21-cv-61297-AHS Document 1 Entered on FLSD Docket 06/22/2021 Page 55 of 55
